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 8                                    UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
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11    DANIEL E. GONZALEZ,                               No. 2:15-cv-1997 MCE DB PS
12                       Plaintiff,
13           v.                                         ORDER
14    UNITED STATES OF AMERICA, et al.,
15                       Defendants.
16

17          Plaintiff, Daniel Gonzalez, commenced this action on September 21, 2015, proceeding pro

18   se. (ECF No. 1.) The matter was, therefore, referred to the undersigned in accordance with Local

19   Rule 302(c)(21) and 28 U.S.C. § 636(b)(1). However, on February 20, 2020, attorney William

20   Wright appeared on behalf of the plaintiff. (ECF No. 150.)

21          Because plaintiff is no longer proceeding pro se in this action, Local Rule 302(c)(21) no

22   longer applies and the case will be referred back to the assigned District Judge. Therefore, all

23   pretrial motions, other than discovery motions, should now be noticed for hearing before the

24   District Judge assigned to this action. The assigned magistrate judge shall continue to perform all

25   duties described in Local Rule 302(c)(1)-(20).

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 1          Accordingly, IT IS HEREBY ORDERED that:
 2          1. This matter is referred back to the District Judge assigned to this action pursuant to
 3   Local Rule 302(c)(21);
 4          2. All dates pending before the undersigned are vacated; and
 5          3. Henceforth the caption on documents filed in this action shall be
 6   No. 2:15-cv-1997 MCE DB with the “PS” designation being eliminated.
 7          IT IS SO ORDERED.
 8   DATED: April 3, 2020                                  /s/ DEBORAH BARNES
                                                           UNITED STATES MAGISTRATE JUDGE
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